          Case 1:23-cv-00139-N/A Document 1                      Filed 07/07/23                  Page 1 of 24
                                                                                                                   Form 1-1
UNITED STATES COURT OF INTERNATIONAL TRADE                                                      FORM 1
   Motorcar Parts of America, Inc.

                                   Plaintiff,
                                                                        S U MMO N S
         v.                                                             Court No.
                                                                        23-00139
  UNITED STA TES,
                                   Defendant.

TO:     The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581 (a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                        Isl Mario Toscano
                                                        Clerk of the Court


                                                  PROTEST
 Port(s) of                                             Center (if known):
 Entrv:
                Otay Mesa, CA                                                      Automotive & Aerospace, Partnership Branch,
                                                                                   Team 023-1/CAC

 Protest      250620100236;250620100238;250620100241;   Date Protest Filed:        1/8/2020;1/15/2020;1/22/2020;1/28/2020
              250620100243
 Number:
  Importer:   Motorcar Parts of America, Inc.                                       1/10/2023; 1/12/2023;1/11/2023;1/10/2023
                                                                          . ct·.
                                                        D ate p rotest Deme

  Category of    Automotive

                            ENTRIES INVOLVED IN ABOVE PROTEST
     Entry               Date of           Date of           Entry                      Date of                 Date of
   Number                 Entrv          Liauidation        Number                       Entry                Liauidation
 See attach�




                                                            Donald Harrison, Gibson, Dunn & Crutcher LLP


                                                            1050 Connecticut Ave. N.W.
                                                            Washington D.C. 20036
                                                            202-955-8560
                                                            dharrison@gibsondunn.com




                                                                                                                            344
Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 2 of 24
Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23    Page 3 of 24




                                          see
                                          attached.
Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 4 of 24




       Motorcar Parts of America, Inc.
               Schedule of Protests
                Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 5 of 24


MOTORCAR PARTS OF AMERICA IR #11-215396200
PROTEST_NO. 250620100236

             ENTRY_NO          ENTRY_DATE      LIQUIDATION_DATE
             21834117760         12/29/2017          7/12/2019
             21834117794         12/29/2017          7/12/2019
             21834117653         12/29/2017          7/12/2019
             21834117661         12/29/2017          7/12/2019
             21834117679         12/29/2017          7/12/2019
             21834117778         12/29/2017          7/12/2019
             21834117695         12/29/2017          7/12/2019
             21834117711         12/29/2017          7/12/2019
             21834117729         12/29/2017          7/12/2019
             21834117737         12/29/2017          7/12/2019
             21834117752         12/29/2017          7/12/2019
             21818241727          1/19/2018          7/12/2019



12 Entries
               Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 6 of 24


MOTORCAR PARTS OF AMERICA IR #11-215396200
PROTEST_NO. 250620100238


            ENTRY_NO         ENTRY_DATE LIQUIDATION_DATE
            21834118362        1/5/2018      7/19/2019
            21834118438        1/6/2018      7/19/2019

2 Entries
          Case 1:23-cv-00139-N/A Document 1        Filed 07/07/23   Page 7 of 24


MOTORCAR PARTS OF AMERICA IR #11-215396200
PROTEST_NO. 250620100241


       ENTRY_NO          ENTRY_DATE LIQUIDATION_DATE
       21833953405          11/9/2017        7/26/2019
       21833953413          11/9/2017        7/26/2019
       21833953421          11/9/2017        7/26/2019
       21833953439          11/9/2017        7/26/2019
       21833953447          11/9/2017        7/26/2019
       21833953454          11/9/2017        7/26/2019
       21833953462          11/9/2017        7/26/2019
       21833953470          11/9/2017        7/26/2019
       21833953488          11/9/2017        7/26/2019
       21834032498          11/9/2017        7/26/2019
       21834032506          11/9/2017        7/26/2019
       21834032514          11/9/2017        7/26/2019
       21834032571          11/9/2017        7/26/2019
       21834032639         11/10/2017        7/26/2019
       21834032647         11/10/2017        7/26/2019
       21834032522         11/10/2017        7/26/2019
       21834032530         11/10/2017        7/26/2019
       21834032548         11/10/2017        7/26/2019
       21834032563         11/10/2017        7/26/2019
       21834032589         11/10/2017        7/26/2019
       21834032597         11/10/2017        7/26/2019
       21834032605         11/10/2017        7/26/2019
       21834032621         11/10/2017        7/26/2019
       21834032613         11/10/2017        7/26/2019
       21834032654         11/11/2017        7/26/2019
       21834032662         11/11/2017        7/26/2019
       21834032670         11/11/2017        7/26/2019
       21834032688         11/11/2017        7/26/2019
       21834032696         11/11/2017        7/26/2019
       21834032704         11/11/2017        7/26/2019
       21834032712         11/11/2017        7/26/2019
       21834032738         11/13/2017        7/26/2019
       21834032746         11/13/2017        7/26/2019
       21834032753         11/13/2017        7/26/2019
       21834032761         11/13/2017        7/26/2019
       21834032779         11/13/2017        7/26/2019
       21834032787         11/13/2017        7/26/2019
       21834032795         11/13/2017        7/26/2019
       21834033819         11/22/2017        7/26/2019
       21834033827         11/22/2017        7/26/2019
       21834033835         11/22/2017        7/26/2019
       21834033843         11/22/2017        7/26/2019
       21834033850         11/22/2017        7/26/2019
       21834033876         11/22/2017        7/26/2019
       21834033884         11/22/2017        7/26/2019
       21834033892         11/22/2017        7/26/2019
       21834034015         11/23/2017        7/26/2019
       21834033868         11/23/2017        7/26/2019
       21834033918         11/23/2017        7/26/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 8 of 24


21834033926       11/23/2017     7/26/2019
21834033959       11/23/2017     7/26/2019
21834033967       11/23/2017     7/26/2019
21834033975       11/23/2017     7/26/2019
21834033983       11/23/2017     7/26/2019
21834033991       11/23/2017     7/26/2019
21834034007       11/23/2017     7/26/2019
21834033900       11/23/2017     7/26/2019
21834033934       11/23/2017     7/26/2019
21834033942       11/23/2017     7/26/2019
21834034023       11/24/2017     7/26/2019
21834034031       11/24/2017     7/26/2019
21834034064       11/24/2017     7/26/2019
21834034072       11/24/2017     7/26/2019
21834034049       11/24/2017     7/26/2019
21834034056       11/24/2017     7/26/2019
21834034163       11/27/2017     7/26/2019
21834034171       11/27/2017     7/26/2019
21834034189       11/27/2017     7/26/2019
21834034213       11/27/2017     7/26/2019
21834034098       11/27/2017     7/26/2019
21834034106       11/27/2017     7/26/2019
21834034114       11/27/2017     7/26/2019
21834034122       11/27/2017     7/26/2019
21834034130       11/27/2017     7/26/2019
21834034148       11/27/2017     7/26/2019
21834034155       11/27/2017     7/26/2019
21834034205       11/28/2017     7/26/2019
21834034221       11/28/2017     7/26/2019
21834034239       11/28/2017     7/26/2019
21834034254       11/28/2017     7/26/2019
21834034262       11/28/2017     7/26/2019
21834034270       11/28/2017     7/26/2019
21834034288       11/28/2017     7/26/2019
21834034296       11/28/2017     7/26/2019
21834034304       11/28/2017     7/26/2019
21834034320       11/28/2017     7/26/2019
21834034338       11/28/2017     7/26/2019
21834034346       11/28/2017     7/26/2019
21834034353       11/28/2017     7/26/2019
21834034361       11/28/2017     7/26/2019
21834034379       11/29/2017     7/26/2019
21834034395       11/29/2017     7/26/2019
21834034403       11/29/2017     7/26/2019
21834034411       11/29/2017     7/26/2019
21834034437       11/29/2017     7/26/2019
21834034445       11/29/2017     7/26/2019
21834034452       11/29/2017     7/26/2019
21834034460       11/29/2017     7/26/2019
21834034478       11/29/2017     7/26/2019
21834034502       11/29/2017     7/26/2019
21834034676       11/30/2017     7/26/2019
21834034643       11/30/2017     7/26/2019
21834034650       11/30/2017     7/26/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 9 of 24


21834034668       11/30/2017     7/26/2019
21834034684       11/30/2017     7/26/2019
21834034692       11/30/2017     7/26/2019
21834034528       11/30/2017     7/26/2019
21834034486       11/30/2017     7/26/2019
21834034494       11/30/2017     7/26/2019
21834034536       11/30/2017     7/26/2019
21834034544       11/30/2017     7/26/2019
21834034551       11/30/2017     7/26/2019
21834034569       11/30/2017     7/26/2019
21834034577       11/30/2017     7/26/2019
21834034585       11/30/2017     7/26/2019
21834034593       11/30/2017     7/26/2019
21834034601       11/30/2017     7/26/2019
21834034619       11/30/2017     7/26/2019
21834034627       11/30/2017     7/26/2019
21834034734        12/1/2017     7/26/2019
21834034817        12/1/2017     7/26/2019
21834034759        12/1/2017     7/26/2019
21834034833        12/1/2017     7/26/2019
21834034767        12/1/2017     7/26/2019
21834034775        12/1/2017     7/26/2019
21834034726        12/1/2017     7/26/2019
21834034742        12/1/2017     7/26/2019
21834034809        12/1/2017     7/26/2019
21834034700        12/1/2017     7/26/2019
21834034783        12/1/2017     7/26/2019
21834034718        12/1/2017     7/26/2019
21834034791        12/1/2017     7/26/2019
21834034825        12/2/2017     7/26/2019
21834034916        12/4/2017     7/26/2019
21834034940        12/4/2017     7/26/2019
21834034908        12/4/2017     7/26/2019
21834034981        12/4/2017     7/26/2019
21834034858        12/4/2017     7/26/2019
21834034932        12/4/2017     7/26/2019
21834034890        12/4/2017     7/26/2019
21834034973        12/4/2017     7/26/2019
21834034874        12/4/2017     7/26/2019
21834034957        12/4/2017     7/26/2019
21834034866        12/4/2017     7/26/2019
21834034882        12/4/2017     7/26/2019
21834034924        12/4/2017     7/26/2019
21834035004        12/5/2017     7/26/2019
21834034965        12/5/2017     7/26/2019
21834035053        12/5/2017     7/26/2019
21834035038        12/5/2017     7/26/2019
21834035087        12/5/2017     7/26/2019
21834035079        12/5/2017     7/26/2019
21834035020        12/5/2017     7/26/2019
21834035061        12/5/2017     7/26/2019
21834035046        12/5/2017     7/26/2019
21834035012        12/5/2017     7/26/2019
21834035095        12/5/2017     7/26/2019
  Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 10 of 24


21834035178        12/6/2017     7/26/2019
21834035137        12/6/2017     7/26/2019
21834035210        12/6/2017     7/26/2019
21834035111        12/6/2017     7/26/2019
21834035194        12/6/2017     7/26/2019
21834035152        12/6/2017     7/26/2019
21834035186        12/6/2017     7/26/2019
21834035160        12/6/2017     7/26/2019
21834035145        12/6/2017     7/26/2019
21834035228        12/6/2017     7/26/2019
21834035129        12/6/2017     7/26/2019
21834035202        12/6/2017     7/26/2019
21834116630       12/19/2017     7/26/2019
21834116572       12/19/2017     7/26/2019
21834116648       12/19/2017     7/26/2019
21834116606       12/19/2017     7/26/2019
21834116622       12/19/2017     7/26/2019
21834116598       12/19/2017     7/26/2019
21834116671       12/19/2017     7/26/2019
21834116580       12/19/2017     7/26/2019
21834116655       12/19/2017     7/26/2019
21834116614       12/19/2017     7/26/2019
21834116721       12/20/2017     7/26/2019
21834116713       12/20/2017     7/26/2019
21834116739       12/20/2017     7/26/2019
21834116747       12/20/2017     7/26/2019
21834116689       12/20/2017     7/26/2019
21834116663       12/20/2017     7/26/2019
21834116705       12/20/2017     7/26/2019
21834116754       12/20/2017     7/26/2019
21834116762       12/20/2017     7/26/2019
21834116770       12/20/2017     7/26/2019
21834116788       12/20/2017     7/26/2019
21834116796       12/20/2017     7/26/2019
21834116804       12/20/2017     7/26/2019
21834116820       12/20/2017     7/26/2019
21834116812       12/20/2017     7/26/2019
21834116879       12/21/2017     7/26/2019
21834116853       12/21/2017     7/26/2019
21834116887       12/21/2017     7/26/2019
21834116994       12/21/2017     7/26/2019
21834116838       12/21/2017     7/26/2019
21834116895       12/21/2017     7/26/2019
21834116903       12/21/2017     7/26/2019
21834116861       12/21/2017     7/26/2019
21834116911       12/21/2017     7/26/2019
21834116846       12/21/2017     7/26/2019
21834116929       12/21/2017     7/26/2019
21834116945       12/21/2017     7/26/2019
21834116937       12/21/2017     7/26/2019
21834116952       12/21/2017     7/26/2019
21834116960       12/21/2017     7/26/2019
21834116986       12/21/2017     7/26/2019
21834116978       12/21/2017     7/26/2019
  Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 11 of 24


21834117133       12/22/2017     7/26/2019
21834117042       12/22/2017     7/26/2019
21834117026       12/22/2017     7/26/2019
21834117059       12/22/2017     7/26/2019
21834117034       12/22/2017     7/26/2019
21834117141       12/22/2017     7/26/2019
21834117018       12/22/2017     7/26/2019
21834117067       12/22/2017     7/26/2019
21834117083       12/22/2017     7/26/2019
21834117075       12/22/2017     7/26/2019
21834117091       12/22/2017     7/26/2019
21834117109       12/22/2017     7/26/2019
21834117125       12/22/2017     7/26/2019
21834117117       12/22/2017     7/26/2019
21834117208       12/26/2017     7/26/2019
21834117158       12/26/2017     7/26/2019
21834117299       12/26/2017     7/26/2019
21834117174       12/26/2017     7/26/2019
21834117182       12/26/2017     7/26/2019
21834117190       12/26/2017     7/26/2019
21834117166       12/26/2017     7/26/2019
21834117216       12/26/2017     7/26/2019
21834117224       12/26/2017     7/26/2019
21834117232       12/26/2017     7/26/2019
21834117240       12/26/2017     7/26/2019
21834117257       12/26/2017     7/26/2019
21834117265       12/26/2017     7/26/2019
21834117281       12/26/2017     7/26/2019
21834117349       12/27/2017     7/26/2019
21834117356       12/27/2017     7/26/2019
21834117430       12/27/2017     7/26/2019
21834117463       12/27/2017     7/26/2019
21834117331       12/27/2017     7/26/2019
21834117448       12/27/2017     7/26/2019
21834117315       12/27/2017     7/26/2019
21834117323       12/27/2017     7/26/2019
21834117364       12/27/2017     7/26/2019
21834117372       12/27/2017     7/26/2019
21834117380       12/27/2017     7/26/2019
21834117398       12/27/2017     7/26/2019
21834117406       12/27/2017     7/26/2019
21834117414       12/27/2017     7/26/2019
21834117604       12/28/2017     7/26/2019
21834117646       12/28/2017     7/26/2019
21834117471       12/28/2017     7/26/2019
21834117489       12/28/2017     7/26/2019
21834117497       12/28/2017     7/26/2019
21834117638       12/28/2017     7/26/2019
21834117612       12/28/2017     7/26/2019
21834117620       12/28/2017     7/26/2019
21834117455       12/28/2017     7/26/2019
21834117521       12/28/2017     7/26/2019
21834117539       12/28/2017     7/26/2019
21834117547       12/28/2017     7/26/2019
  Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 12 of 24


21834117562       12/28/2017     7/26/2019
21834117570       12/28/2017     7/26/2019
21834117422       12/28/2017     7/26/2019
21834117596       12/28/2017     7/26/2019
21834117588       12/28/2017     7/26/2019
21834117802       12/29/2017     7/26/2019
21834117810       12/29/2017     7/26/2019
21834117786       12/29/2017     7/26/2019
21834117687       12/29/2017     7/26/2019
21834117745       12/29/2017     7/26/2019
21834117943        1/2/2018      7/26/2019
21834117927        1/2/2018      7/26/2019
21834117935        1/2/2018      7/26/2019
21834117836        1/2/2018      7/26/2019
21834117844        1/2/2018      7/26/2019
21834117851        1/2/2018      7/26/2019
21834117877        1/2/2018      7/26/2019
21834117869        1/2/2018      7/26/2019
21834117893        1/2/2018      7/26/2019
21834117885        1/2/2018      7/26/2019
21834117919        1/2/2018      7/26/2019
21834188480        1/16/2018     7/26/2019
21834188498        1/16/2018     7/26/2019
21834188514        1/16/2018     7/26/2019
21834188522        1/16/2018     7/26/2019
21834188563        1/17/2018     7/26/2019
21834188589        1/17/2018     7/26/2019
21834188597        1/17/2018     7/26/2019
21834188571        1/17/2018     7/26/2019
21834188605        1/17/2018     7/26/2019
21834188530        1/17/2018     7/26/2019
21834188548        1/17/2018     7/26/2019
21834188555        1/17/2018     7/26/2019
21834188779        1/18/2018     7/26/2019
21834188720        1/18/2018     7/26/2019
21834188886        1/19/2018     7/26/2019
21834188902        1/19/2018     7/26/2019
21834188910        1/19/2018     7/26/2019
21834188928        1/19/2018     7/26/2019
21834188936        1/19/2018     7/26/2019
21834188944        1/19/2018     7/26/2019
21834189678        1/25/2018     7/26/2019
21834189553        1/25/2018     7/26/2019
21834189538        1/25/2018     7/26/2019
21834189686        1/25/2018     7/26/2019
21834189561        1/25/2018     7/26/2019
21834189579        1/25/2018     7/26/2019
21834189587        1/25/2018     7/26/2019
21834189595        1/25/2018     7/26/2019
21834189611        1/25/2018     7/26/2019
21834189629        1/25/2018     7/26/2019
21834189637        1/25/2018     7/26/2019
21834189645        1/25/2018     7/26/2019
21834189652        1/25/2018     7/26/2019
  Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 13 of 24


21834189660       1/25/2018      7/26/2019
21834189546       1/25/2018      7/26/2019
21834189520       1/25/2018      7/26/2019
21834189603       1/25/2018      7/26/2019
21834189769       1/26/2018      7/26/2019
21834189702       1/26/2018      7/26/2019
21834189728       1/26/2018      7/26/2019
21834189736       1/26/2018      7/26/2019
21834189744       1/26/2018      7/26/2019
21834189751       1/26/2018      7/26/2019
21834189777       1/26/2018      7/26/2019
21834189785       1/26/2018      7/26/2019
21834189793       1/26/2018      7/26/2019
21834189801       1/26/2018      7/26/2019
21834189819       1/26/2018      7/26/2019
21834189835       1/27/2018      7/26/2019
21834189843       1/27/2018      7/26/2019
21834189850       1/27/2018      7/26/2019
21834189868       1/27/2018      7/26/2019
21834189942       1/29/2018      7/26/2019
21834190007       1/29/2018      7/26/2019
21834189959       1/29/2018      7/26/2019
21834190015       1/29/2018      7/26/2019
21834189884       1/29/2018      7/26/2019
21834190023       1/29/2018      7/26/2019
21834189892       1/29/2018      7/26/2019
21834190031       1/29/2018      7/26/2019
21834189900       1/29/2018      7/26/2019
21834189918       1/29/2018      7/26/2019
21834189926       1/29/2018      7/26/2019
21834189934       1/29/2018      7/26/2019
21834189967       1/29/2018      7/26/2019
21834189975       1/29/2018      7/26/2019
21834189983       1/29/2018      7/26/2019
21834189991       1/29/2018      7/26/2019
21834190163       1/30/2018      7/26/2019
21834190171       1/30/2018      7/26/2019
21834190114       1/30/2018      7/26/2019
21834190197       1/30/2018      7/26/2019
21834190205       1/30/2018      7/26/2019
21834190056       1/30/2018      7/26/2019
21834190064       1/30/2018      7/26/2019
21834190072       1/30/2018      7/26/2019
21834190080       1/30/2018      7/26/2019
21834190098       1/30/2018      7/26/2019
21834190106       1/30/2018      7/26/2019
21834190122       1/30/2018      7/26/2019
21834190130       1/30/2018      7/26/2019
21834190148       1/30/2018      7/26/2019
21834190155       1/30/2018      7/26/2019
21834190189       1/31/2018      7/26/2019
21834190254       1/31/2018      7/26/2019
21834190262       1/31/2018      7/26/2019
21834190270       1/31/2018      7/26/2019
              Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 14 of 24


          21834190288         1/31/2018      7/26/2019
          21834190296         1/31/2018      7/26/2019
          21834190304         1/31/2018      7/26/2019
          21834190213         1/31/2018      7/26/2019
          21834190221         1/31/2018      7/26/2019
          21834190239         1/31/2018      7/26/2019
          21834263523         2/10/2018      7/26/2019
          21834263549         2/10/2018      7/26/2019
          21834263564         2/10/2018      7/26/2019
          21834263515         2/10/2018      7/26/2019
          21834263531         2/10/2018      7/26/2019
          21834263556         2/10/2018      7/26/2019
          21834263606         2/12/2018      7/26/2019
          21834263614         2/12/2018      7/26/2019
          21834263630         2/12/2018      7/26/2019
          21834263663         2/12/2018      7/26/2019
          21834263689         2/12/2018      7/26/2019
          21834263713         2/12/2018      7/26/2019
          21834263721         2/12/2018      7/26/2019
          21834263580         2/12/2018      7/26/2019
          21834263598         2/12/2018      7/26/2019
          21834263622         2/12/2018      7/26/2019
          21834263648         2/12/2018      7/26/2019
          21834263655         2/12/2018      7/26/2019
          21834263671         2/12/2018      7/26/2019
          21834263697         2/12/2018      7/26/2019
          21834263739         2/12/2018      7/26/2019
          21834263705         2/12/2018      7/26/2019
          21834263887         2/13/2018      7/26/2019
          21834263762         2/13/2018      7/26/2019
          21834263770         2/13/2018      7/26/2019
          21834263796         2/13/2018      7/26/2019
          21834263804         2/13/2018      7/26/2019
          21834263812         2/13/2018      7/26/2019
          21834263838         2/13/2018      7/26/2019
          21834263853         2/13/2018      7/26/2019
          21834263861         2/13/2018      7/26/2019
          21834263820         2/13/2018      7/26/2019

411 Entries
          Case 1:23-cv-00139-N/A Document 1       Filed 07/07/23   Page 15 of 24


MOTORCAR PARTS OF AMERICA IR #11-215396200
PROTEST_NO. 250620100243


       ENTRY_NO          ENTRY_DATE LIQUIDATION_DATE
       21833952977          11/6/2017        8/2/2019
       21833953108          11/6/2017        8/2/2019
       21833952985          11/6/2017        8/2/2019
       21833952993          11/6/2017        8/2/2019
       21833953009          11/6/2017        8/2/2019
       21833953025          11/6/2017        8/2/2019
       21833953033          11/6/2017        8/2/2019
       21833953058          11/6/2017        8/2/2019
       21833953066          11/6/2017        8/2/2019
       21833953074          11/6/2017        8/2/2019
       21833953082          11/6/2017        8/2/2019
       21833953207          11/7/2017        8/2/2019
       21833953215          11/7/2017        8/2/2019
       21833953165          11/7/2017        8/2/2019
       21833953173          11/7/2017        8/2/2019
       21833953181          11/7/2017        8/2/2019
       21833953157          11/7/2017        8/2/2019
       21833953090          11/7/2017        8/2/2019
       21833953116          11/7/2017        8/2/2019
       21833953124          11/7/2017        8/2/2019
       21833953132          11/7/2017        8/2/2019
       21833953140          11/7/2017        8/2/2019
       21833953199          11/7/2017        8/2/2019
       21833953223          11/8/2017        8/2/2019
       21833953231          11/8/2017        8/2/2019
       21833953256          11/8/2017        8/2/2019
       21833953264          11/8/2017        8/2/2019
       21833953272          11/8/2017        8/2/2019
       21833953280          11/8/2017        8/2/2019
       21833953306          11/8/2017        8/2/2019
       21833953314          11/8/2017        8/2/2019
       21833953322          11/8/2017        8/2/2019
       21833953330          11/8/2017        8/2/2019
       21833953348          11/8/2017        8/2/2019
       21833953363          11/8/2017        8/2/2019
       21833953371          11/8/2017        8/2/2019
       21833953355          11/9/2017        8/2/2019
       21833953389          11/9/2017        8/2/2019
       21834032811         11/13/2017        8/2/2019
       21834032845         11/13/2017        8/2/2019
       21834032852         11/13/2017        8/2/2019
       21834032829         11/14/2017        8/2/2019
       21834032902         11/14/2017        8/2/2019
       21834032837         11/14/2017        8/2/2019
       21834032878         11/14/2017        8/2/2019
       21834033033         11/15/2017        8/2/2019
       21834033041         11/15/2017        8/2/2019
       21834033058         11/15/2017        8/2/2019
       21834033066         11/15/2017        8/2/2019
       21834033074         11/15/2017        8/2/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 16 of 24


21834032886        11/15/2017    8/2/2019
21834033082        11/15/2017    8/2/2019
21834032894        11/15/2017    8/2/2019
21834032951        11/15/2017    8/2/2019
21834032977        11/15/2017    8/2/2019
21834032993        11/15/2017    8/2/2019
21834032910        11/15/2017    8/2/2019
21834032928        11/15/2017    8/2/2019
21834032936        11/15/2017    8/2/2019
21834033090        11/15/2017    8/2/2019
21834032944        11/15/2017    8/2/2019
21834032969        11/15/2017    8/2/2019
21834032985        11/15/2017    8/2/2019
21834033025        11/15/2017    8/2/2019
21834033009        11/15/2017    8/2/2019
21834033017        11/15/2017    8/2/2019
21834033108        11/15/2017    8/2/2019
21834033116        11/15/2017    8/2/2019
21834033181        11/16/2017    8/2/2019
21834033199        11/16/2017    8/2/2019
21834033207        11/16/2017    8/2/2019
21834033215        11/16/2017    8/2/2019
21834033223        11/16/2017    8/2/2019
21834033231        11/16/2017    8/2/2019
21834033256        11/16/2017    8/2/2019
21834033272        11/16/2017    8/2/2019
21834033280        11/16/2017    8/2/2019
21834033298        11/16/2017    8/2/2019
21834033124        11/16/2017    8/2/2019
21834033132        11/16/2017    8/2/2019
21834033140        11/16/2017    8/2/2019
21834033157        11/16/2017    8/2/2019
21834033249        11/17/2017    8/2/2019
21834033264        11/17/2017    8/2/2019
21834033306        11/17/2017    8/2/2019
21834033348        11/17/2017    8/2/2019
21834033355        11/17/2017    8/2/2019
21834033371        11/17/2017    8/2/2019
21834033405        11/17/2017    8/2/2019
21834033421        11/17/2017    8/2/2019
21834033330        11/17/2017    8/2/2019
21834033363        11/17/2017    8/2/2019
21834033322        11/17/2017    8/2/2019
21834033389        11/17/2017    8/2/2019
21834033397        11/17/2017    8/2/2019
21834033462        11/18/2017    8/2/2019
21834033470        11/18/2017    8/2/2019
21834033488        11/18/2017    8/2/2019
21834033496        11/18/2017    8/2/2019
21834033504        11/18/2017    8/2/2019
21834033512        11/18/2017    8/2/2019
21834033520        11/18/2017    8/2/2019
21834033538        11/18/2017    8/2/2019
21834033413        11/18/2017    8/2/2019
21834033439        11/18/2017    8/2/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 17 of 24


21834033454        11/18/2017    8/2/2019
21834033546        11/18/2017    8/2/2019
21834033447        11/18/2017    8/2/2019
21834033603        11/20/2017    8/2/2019
21834033553        11/20/2017    8/2/2019
21834033561        11/20/2017    8/2/2019
21834033579        11/20/2017    8/2/2019
21834033587        11/20/2017    8/2/2019
21834033595        11/20/2017    8/2/2019
21834033629        11/21/2017    8/2/2019
21834033637        11/21/2017    8/2/2019
21834033645        11/21/2017    8/2/2019
21834033652        11/21/2017    8/2/2019
21834033660        11/21/2017    8/2/2019
21834033678        11/21/2017    8/2/2019
21834033686        11/21/2017    8/2/2019
21834033694        11/21/2017    8/2/2019
21834033702        11/21/2017    8/2/2019
21834033710        11/21/2017    8/2/2019
21834033728        11/22/2017    8/2/2019
21834033736        11/22/2017    8/2/2019
21834033744        11/22/2017    8/2/2019
21834033751        11/22/2017    8/2/2019
21834033769        11/22/2017    8/2/2019
21834033793        11/22/2017    8/2/2019
21834033801        11/22/2017    8/2/2019
21834035269         12/6/2017    8/2/2019
21834035293         12/6/2017    8/2/2019
21834035251         12/6/2017    8/2/2019
21834035343         12/7/2017    8/2/2019
21834035277         12/7/2017    8/2/2019
21834035350         12/7/2017    8/2/2019
21834035327         12/7/2017    8/2/2019
21834035335         12/7/2017    8/2/2019
21834035418         12/7/2017    8/2/2019
21834035467         12/7/2017    8/2/2019
21834035285         12/7/2017    8/2/2019
21834035301         12/7/2017    8/2/2019
21834035384         12/7/2017    8/2/2019
21834035400         12/7/2017    8/2/2019
21834035392         12/7/2017    8/2/2019
21834035475         12/7/2017    8/2/2019
21834035368         12/7/2017    8/2/2019
21834035376         12/7/2017    8/2/2019
21834115590         12/8/2017    8/2/2019
21834115517         12/8/2017    8/2/2019
21834115608         12/8/2017    8/2/2019
21834115640         12/8/2017    8/2/2019
21834035483         12/8/2017    8/2/2019
21834035459         12/8/2017    8/2/2019
21834115566         12/8/2017    8/2/2019
21834115574         12/8/2017    8/2/2019
21834115657         12/8/2017    8/2/2019
21834035442         12/8/2017    8/2/2019
21834035434         12/8/2017    8/2/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 18 of 24


21834115533         12/8/2017    8/2/2019
21834035426         12/8/2017    8/2/2019
21834115558         12/8/2017    8/2/2019
21834115509         12/8/2017    8/2/2019
21834115582         12/8/2017    8/2/2019
21834115665         12/9/2017    8/2/2019
21834115616         12/9/2017    8/2/2019
21834115624         12/9/2017    8/2/2019
21834115632         12/9/2017    8/2/2019
21834115749        12/11/2017    8/2/2019
21834115756        12/11/2017    8/2/2019
21834115699        12/11/2017    8/2/2019
21834115681        12/11/2017    8/2/2019
21834115772        12/11/2017    8/2/2019
21834115723        12/11/2017    8/2/2019
21834115731        12/11/2017    8/2/2019
21834115673        12/11/2017    8/2/2019
21834115707        12/11/2017    8/2/2019
21834115715        12/11/2017    8/2/2019
21834115830        12/12/2017    8/2/2019
21834115855        12/12/2017    8/2/2019
21834115871        12/12/2017    8/2/2019
21834115814        12/12/2017    8/2/2019
21834115780        12/12/2017    8/2/2019
21834115897        12/12/2017    8/2/2019
21834115921        12/12/2017    8/2/2019
21834115913        12/12/2017    8/2/2019
21834115863        12/12/2017    8/2/2019
21834115947        12/12/2017    8/2/2019
21834115806        12/12/2017    8/2/2019
21834115905        12/12/2017    8/2/2019
21834115954        12/13/2017    8/2/2019
21834116028        12/13/2017    8/2/2019
21834115970        12/13/2017    8/2/2019
21834115988        12/13/2017    8/2/2019
21834116051        12/13/2017    8/2/2019
21834116010        12/13/2017    8/2/2019
21834116002        12/13/2017    8/2/2019
21834116044        12/13/2017    8/2/2019
21834115939        12/13/2017    8/2/2019
21834116036        12/13/2017    8/2/2019
21834115996        12/13/2017    8/2/2019
21834116077        12/13/2017    8/2/2019
21834116127        12/14/2017    8/2/2019
21834116143        12/14/2017    8/2/2019
21834116085        12/14/2017    8/2/2019
21834116119        12/14/2017    8/2/2019
21834116226        12/14/2017    8/2/2019
21834116069        12/14/2017    8/2/2019
21834116184        12/14/2017    8/2/2019
21834116093        12/14/2017    8/2/2019
21834116168        12/14/2017    8/2/2019
21834116135        12/14/2017    8/2/2019
21834116101        12/14/2017    8/2/2019
21834116192        12/14/2017    8/2/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 19 of 24


21834116218        12/14/2017    8/2/2019
21834116200        12/14/2017    8/2/2019
21834116234        12/14/2017    8/2/2019
21834116150        12/14/2017    8/2/2019
21834116242        12/14/2017    8/2/2019
21834116309        12/15/2017    8/2/2019
21834116283        12/15/2017    8/2/2019
21834116275        12/15/2017    8/2/2019
21834116358        12/15/2017    8/2/2019
21834116341        12/15/2017    8/2/2019
21834116267        12/15/2017    8/2/2019
21834116333        12/15/2017    8/2/2019
21834116366        12/15/2017    8/2/2019
21834116291        12/15/2017    8/2/2019
21834116382        12/15/2017    8/2/2019
21834116325        12/15/2017    8/2/2019
21834116317        12/15/2017    8/2/2019
21834116374        12/16/2017    8/2/2019
21834116416        12/18/2017    8/2/2019
21834116408        12/18/2017    8/2/2019
21834116481        12/18/2017    8/2/2019
21834116457        12/18/2017    8/2/2019
21834116440        12/18/2017    8/2/2019
21834116432        12/18/2017    8/2/2019
21834116424        12/18/2017    8/2/2019
21834116507        12/18/2017    8/2/2019
21834116473        12/18/2017    8/2/2019
21834116465        12/18/2017    8/2/2019
21834116499        12/19/2017    8/2/2019
21834116515        12/19/2017    8/2/2019
21834116549        12/19/2017    8/2/2019
21834116531        12/19/2017    8/2/2019
21834116564        12/19/2017    8/2/2019
21834118446          1/6/2018    8/2/2019
21834118453          1/6/2018    8/2/2019
21834118461          1/6/2018    8/2/2019
21834188357         1/15/2018    8/2/2019
21834188365         1/15/2018    8/2/2019
21834188373         1/15/2018    8/2/2019
21834188381         1/15/2018    8/2/2019
21834188399         1/16/2018    8/2/2019
21834188464         1/16/2018    8/2/2019
21834188415         1/16/2018    8/2/2019
21834188407         1/16/2018    8/2/2019
21834188423         1/16/2018    8/2/2019
21834188431         1/16/2018    8/2/2019
21834188449         1/16/2018    8/2/2019
21834188456         1/16/2018    8/2/2019
21834189694         1/26/2018    8/2/2019
21834189710         1/26/2018    8/2/2019
21834263291          2/8/2018    8/2/2019
21834263309          2/8/2018    8/2/2019
21834263317          2/8/2018    8/2/2019
21834263325          2/8/2018    8/2/2019
21834263358          2/8/2018    8/2/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 20 of 24


21834263283          2/8/2018    8/2/2019
21834263333          2/8/2018    8/2/2019
21834263366          2/8/2018    8/2/2019
21834263374          2/8/2018    8/2/2019
21834263473          2/9/2018    8/2/2019
21834263499          2/9/2018    8/2/2019
21834263382          2/9/2018    8/2/2019
21834263408          2/9/2018    8/2/2019
21834263416          2/9/2018    8/2/2019
21834263432          2/9/2018    8/2/2019
21834263457          2/9/2018    8/2/2019
21834263465          2/9/2018    8/2/2019
21834263481          2/9/2018    8/2/2019
21834263507          2/9/2018    8/2/2019
21834263424          2/9/2018    8/2/2019
21834263440          2/9/2018    8/2/2019
21834263747         2/12/2018    8/2/2019
21834263788         2/13/2018    8/2/2019
21834115822        12/12/2017    8/9/2019
21834117950          1/3/2018    8/9/2019
21834118057          1/3/2018    8/9/2019
21834118065          1/3/2018    8/9/2019
21834118081          1/3/2018    8/9/2019
21834118073          1/3/2018    8/9/2019
21834118107          1/3/2018    8/9/2019
21834117976          1/3/2018    8/9/2019
21834118016          1/3/2018    8/9/2019
21834118024          1/3/2018    8/9/2019
21834118032          1/3/2018    8/9/2019
21834118008          1/3/2018    8/9/2019
21834118040          1/3/2018    8/9/2019
21834117984          1/3/2018    8/9/2019
21834117992          1/3/2018    8/9/2019
21834118222          1/4/2018    8/9/2019
21834118214          1/4/2018    8/9/2019
21834118255          1/4/2018    8/9/2019
21834118248          1/4/2018    8/9/2019
21834118099          1/4/2018    8/9/2019
21834118230          1/4/2018    8/9/2019
21834118263          1/4/2018    8/9/2019
21834118115          1/4/2018    8/9/2019
21834118123          1/4/2018    8/9/2019
21834118149          1/4/2018    8/9/2019
21834118156          1/4/2018    8/9/2019
21834118164          1/4/2018    8/9/2019
21834118131          1/4/2018    8/9/2019
21834118172          1/4/2018    8/9/2019
21834118198          1/4/2018    8/9/2019
21834118206          1/4/2018    8/9/2019
21834118180          1/4/2018    8/9/2019
21834118388          1/5/2018    8/9/2019
21834118271          1/5/2018    8/9/2019
21834118289          1/5/2018    8/9/2019
21834118321          1/5/2018    8/9/2019
21834118313          1/5/2018    8/9/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 21 of 24


21834118297         1/5/2018     8/9/2019
21834118339         1/5/2018     8/9/2019
21834118347         1/5/2018     8/9/2019
21834118370         1/5/2018     8/9/2019
21834118396         1/5/2018     8/9/2019
21834118404         1/5/2018     8/9/2019
21834118412         1/5/2018     8/9/2019
21834118420         1/5/2018     8/9/2019
21834118354         1/5/2018     8/9/2019
21834118479         1/6/2018     8/9/2019
21834188472        1/16/2018     8/9/2019
21834188639        1/17/2018     8/9/2019
21834188670        1/17/2018     8/9/2019
21834188662        1/17/2018     8/9/2019
21834188654        1/17/2018     8/9/2019
21834188696        1/17/2018     8/9/2019
21834188688        1/17/2018     8/9/2019
21834188704        1/17/2018     8/9/2019
21834188712        1/17/2018     8/9/2019
21834188621        1/17/2018     8/9/2019
21834188613        1/17/2018     8/9/2019
21834188647        1/17/2018     8/9/2019
21834188746        1/18/2018     8/9/2019
21834188761        1/18/2018     8/9/2019
21834188753        1/18/2018     8/9/2019
21834188803        1/18/2018     8/9/2019
21834188787        1/18/2018     8/9/2019
21834188837        1/18/2018     8/9/2019
21834188845        1/18/2018     8/9/2019
21834188795        1/18/2018     8/9/2019
21834188852        1/18/2018     8/9/2019
21834188829        1/18/2018     8/9/2019
21834188860        1/18/2018     8/9/2019
21834188878        1/18/2018     8/9/2019
21834188811        1/18/2018     8/9/2019
21834188951        1/19/2018     8/9/2019
21834188977        1/19/2018     8/9/2019
21834188993        1/19/2018     8/9/2019
21834189009        1/19/2018     8/9/2019
21834189017        1/19/2018     8/9/2019
21834189025        1/20/2018     8/9/2019
21834189033        1/20/2018     8/9/2019
21834189041        1/20/2018     8/9/2019
21834189058        1/20/2018     8/9/2019
21834189066        1/20/2018     8/9/2019
21834189074        1/20/2018     8/9/2019
21834189090        1/22/2018     8/9/2019
21834189108        1/22/2018     8/9/2019
21834189116        1/22/2018     8/9/2019
21834189124        1/22/2018     8/9/2019
21834189132        1/22/2018     8/9/2019
21834189140        1/22/2018     8/9/2019
21834189157        1/22/2018     8/9/2019
21834189165        1/22/2018     8/9/2019
21834189173        1/22/2018     8/9/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 22 of 24


21834189181        1/22/2018     8/9/2019
21834189207        1/22/2018     8/9/2019
21834189314        1/23/2018     8/9/2019
21834189322        1/23/2018     8/9/2019
21834189330        1/23/2018     8/9/2019
21834189348        1/23/2018     8/9/2019
21834189199        1/23/2018     8/9/2019
21834189355        1/23/2018     8/9/2019
21834189363        1/23/2018     8/9/2019
21834189215        1/23/2018     8/9/2019
21834189223        1/23/2018     8/9/2019
21834189231        1/23/2018     8/9/2019
21834189249        1/23/2018     8/9/2019
21834189256        1/23/2018     8/9/2019
21834189264        1/23/2018     8/9/2019
21834189272        1/23/2018     8/9/2019
21834189280        1/23/2018     8/9/2019
21834189298        1/23/2018     8/9/2019
21834189306        1/23/2018     8/9/2019
21834189371        1/24/2018     8/9/2019
21834189397        1/24/2018     8/9/2019
21834189405        1/24/2018     8/9/2019
21834189413        1/24/2018     8/9/2019
21834189421        1/24/2018     8/9/2019
21834189439        1/24/2018     8/9/2019
21834189462        1/24/2018     8/9/2019
21834189470        1/24/2018     8/9/2019
21834189454        1/24/2018     8/9/2019
21834189488        1/24/2018     8/9/2019
21834189496        1/24/2018     8/9/2019
21834189504        1/24/2018     8/9/2019
21834190353        1/31/2018     8/9/2019
21834190361        1/31/2018     8/9/2019
21834190387        1/31/2018     8/9/2019
21834190395        1/31/2018     8/9/2019
21834190312        1/31/2018     8/9/2019
21834190320        1/31/2018     8/9/2019
21834190338        1/31/2018     8/9/2019
21834190346        1/31/2018     8/9/2019
21834190478         2/1/2018     8/9/2019
21834190486         2/1/2018     8/9/2019
21834262491         2/1/2018     8/9/2019
21834190379         2/1/2018     8/9/2019
21834190403         2/1/2018     8/9/2019
21834262509         2/1/2018     8/9/2019
21834262525         2/1/2018     8/9/2019
21834262533         2/1/2018     8/9/2019
21834190445         2/1/2018     8/9/2019
21834190452         2/1/2018     8/9/2019
21834262582         2/1/2018     8/9/2019
21834190460         2/1/2018     8/9/2019
21834262541         2/1/2018     8/9/2019
21834262558         2/1/2018     8/9/2019
21834262566         2/1/2018     8/9/2019
21834262590         2/1/2018     8/9/2019
   Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 23 of 24


21834190411        2/1/2018      8/9/2019
21834262681        2/2/2018      8/9/2019
21834262699        2/2/2018      8/9/2019
21834262715        2/2/2018      8/9/2019
21834262657        2/2/2018      8/9/2019
21834262574        2/2/2018      8/9/2019
21834262665        2/2/2018      8/9/2019
21834262673        2/2/2018      8/9/2019
21834262608        2/2/2018      8/9/2019
21834262624        2/2/2018      8/9/2019
21834262632        2/2/2018      8/9/2019
21834262640        2/2/2018      8/9/2019
21834262756        2/2/2018      8/9/2019
21834262764        2/2/2018      8/9/2019
21834262780        2/2/2018      8/9/2019
21834262707        2/2/2018      8/9/2019
21834262806        2/3/2018      8/9/2019
21834262814        2/3/2018      8/9/2019
21834262822        2/3/2018      8/9/2019
21834262772        2/3/2018      8/9/2019
21834262830        2/5/2018      8/9/2019
21834262905        2/5/2018      8/9/2019
21834262913        2/5/2018      8/9/2019
21834262848        2/5/2018      8/9/2019
21834262871        2/5/2018      8/9/2019
21834262855        2/5/2018      8/9/2019
21834262863        2/5/2018      8/9/2019
21834262889        2/5/2018      8/9/2019
21834262897        2/5/2018      8/9/2019
21834262988        2/6/2018      8/9/2019
21834262939        2/6/2018      8/9/2019
21834262996        2/6/2018      8/9/2019
21834262947        2/6/2018      8/9/2019
21834262954        2/6/2018      8/9/2019
21834262962        2/6/2018      8/9/2019
21834262970        2/6/2018      8/9/2019
21834263002        2/6/2018      8/9/2019
21834263051        2/6/2018      8/9/2019
21834263069        2/6/2018      8/9/2019
21834263168        2/7/2018      8/9/2019
21834263085        2/7/2018      8/9/2019
21834263101        2/7/2018      8/9/2019
21834263119        2/7/2018      8/9/2019
21834263127        2/7/2018      8/9/2019
21834263135        2/7/2018      8/9/2019
21834263143        2/7/2018      8/9/2019
21834263150        2/7/2018      8/9/2019
21834263077        2/7/2018      8/9/2019
21834263234        2/7/2018      8/9/2019
21834263176        2/7/2018      8/9/2019
21834263192        2/7/2018      8/9/2019
21834263200        2/7/2018      8/9/2019
21834263218        2/7/2018      8/9/2019
21834263226        2/8/2018      8/9/2019
21834263242        2/8/2018      8/9/2019
              Case 1:23-cv-00139-N/A Document 1   Filed 07/07/23   Page 24 of 24


         21834263259            2/8/2018      8/9/2019
         21834263275            2/8/2018      8/9/2019
         21834262731            2/2/2018     8/16/2019
         21834262723            2/2/2018     8/16/2019
         21834262749            2/3/2018     8/16/2019
         21834262798            2/3/2018     8/16/2019
         21834263184            2/7/2018     8/16/2019
         21834035236           12/6/2017     8/30/2019
         21834035244           12/6/2017     8/30/2019
         21834034197          11/27/2017    10/25/2019

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